                                 Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 1 of 46



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                                DIRECTTOU, LLC
                            6

                            7

                            8
                                                      IN THE UNITED STATES DISTRICT COURT
                            9
                                                           NORTHERN DISTRICT OF CALIFORNIA
                           10
                                JONATHAN HOANG TO, individually and           )   Case No.:
                           11   on behalf of all others similarly situated,   )
                                                                              )   [Removed from Alameda County Superior
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   A TTORNEYS AT L AW




                           12                 Plaintiff,                      )   Court, Case No. 24CV086809]
      L OS A NGELE S




                                                                              )
                           13           v.                                    )   NOTICE OF REMOVAL OF ACTION
                                                                              )   PURSUANT TO 28 U.S.C. §§ 1331,
                           14   DIRECTTOU, LLC,                               )   1332(d), 1367(A), 1441, AND 1446
                                                                              )
                           15                 Defendant.                      )
                                                                              )
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                                NOTICE OF REMOVAL
                                     Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 2 of 46



                            1                                       NOTICE OF REMOVAL
                            2            TO THE CLERK OF THE U.S. DISTRICT COURT FOR THE NORTHERN
                            3   DISTRICT OF CALIFORNIA, PLAINTIFF, AND HIS ATTORNEYS:
                            4            PLEASE TAKE NOTICE that Defendant DirectToU, LLC (“Defendant”), hereby removes
                            5   to this Court the state action described below, pursuant to 28 U.S.C. §§ 1367(a), 1441, and 1446.
                            6   In support thereof, Defendant states as follows:
                            7   I.       PROCEDURAL BACKGROUND AND ALLEGATIONS
                            8            1.    On August 12, 2024, Plaintiff filed a Complaint in the Superior Court of the State
                            9   of California, County of Alameda, entitled Jonathan Hoang To, individually and on behalf of all
                           10   others similarly situated, v. DirectToU, LLC, Case No. 24CV086809 (the “State Court Action”),
                           11   a true and correct copy of which is attached hereto as Exhibit A.
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                           12            2.    The Complaint alleges a federal claim under the Video Privacy Protection Act, 18
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                           13   U.S.C. § 2710 (“VPPA”) and state law claims under California Civil Code § 1799.3 and California
                           14   Business and Professional Code § 17200 et seq.
                           15            3.    In accordance with 28 U.S.C. § 1446(a), in addition to the above-referenced Exhibit
                           16   A, Defendant attaches to this Notice of Removal the following documents, which are all the
                           17   process, pleadings, and orders served upon Defendant and/or filed in the State Court Action, prior
                           18   to the instant Notice of Removal:
                           19                       a. Civil Case Cover Sheet, attached hereto as Exhibit B;
                           20                       b. Summons on Complaint (“Summons”), attached hereto as Exhibit C;
                           21                       c. Proof of Service of Summons, attached hereto as Exhibit D;
                           22                       d. Notice of Case Management Hearing, attached hereto as Exhibit E; and
                           23                       e. Tentative Ruling (Complex Determination Hearing), attached hereto as
                           24                          Exhibit F.
                           25   II.      TIMELINESS OF REMOVAL
                           26            4.    On August 15, 2024, Plaintiff served Defendant with the Summons and Complaint.
                           27            5.    Notice of removal is timely if it is filed within 30 days after service of the complaint
                           28   or summons. See 28 U.S.C. § 1446(b).


                                NOTICE OF REMOVAL
                                 Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 3 of 46



                            1          6.      Defendant’s Notice of Removal is timely because it is filed within 30 days of
                            2   service of process.
                            3   III.   FEDERAL QUESTION JURISIDICTION
                            4          A.      This Court Has Original Jurisdiction Over Plaintiff’s VPPA Claim.
                            5          7.      Plaintiff’s first cause of action pled in his Complaint is for violation of the VPPA,
                            6   18 U.S.C. § 2710.
                            7          8.      Federal courts have original jurisdiction over “all civil actions arising under the
                            8   Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. “Except as otherwise
                            9   expressly provided by Act of Congress, any civil action brought in a State court of which the
                           10   district courts of the United States have original jurisdiction, may be removed by the defendant or
                           11   the defendants, to the district court of the United States for the district and division embracing the
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                           12   place where such action is pending.” 28 U.S.C. § 1441(a). In addition, even if a plaintiff asserts
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                           13   one or more claims that are not subject to removal, an entire civil action may be removed if it
                           14   includes at least one removable claim “arising under the Constitution, laws, or treaties of the
                           15   United States.” 28 U.S.C. § 1441(c).
                           16          9.      Because Plaintiff has asserted a federal claim arising under the VPPA, this Court
                           17   has original jurisdiction under 28 U.S.C. § 1331 and the action may be removed by Defendant
                           18   pursuant to 28 U.S.C. § 1441(a).
                           19          B.      This Court Has Supplemental Jurisdiction Over Plaintiff’s State Law
                           20          Claims.
                           21          10.     District courts “have supplemental jurisdiction over all other claims that are so
                           22   related to claims in the action within such original jurisdiction that they form part of the same
                           23   case or controversy under Article III of the United States Constitution.” 28 U.S.C. § 1367(a).
                           24          11.     This Court has supplemental jurisdiction over Plaintiff’s two state law claims,
                           25   pursuant to 28 U.S.C. § 1367(a), as these claims arise out of the same case or controversy and
                           26   nucleus of operative facts.
                           27

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                                NOTICE OF REMOVAL
                                 Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 4 of 46



                            1   IV.    THE CLASS ACTION FAIRNESS ACT PROVIDES AN ALTERNATIVE,
                            2   INDEPENDENT BASIS FOR REMOVAL.
                            3          12.      “[A]ny civil action brought in state court of which the district courts of the United
                            4   States have original jurisdiction[] may be removed by the defendant.” 28 U.S.C. § 1441(a). This
                            5   action is removable under 28 U.S.C. § 1441(a) because this Court would have had original
                            6   jurisdiction under the Class Action Fairness Act of 2005 (“CAFA”) had Plaintiffs initially filed
                            7   this action in federal court. See 28 U.S.C. § 1332(d); see also id. § 1453(b) (setting the procedure
                            8   for removing class actions).
                            9          13.     CAFA gives federal courts original jurisdiction over putative class actions in which
                           10   (1) the aggregate number of members in the proposed class consists of at least 100 members; (2)
                           11   the parties are minimally diverse, meaning “any member of a class of plaintiffs is a citizen of a
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                           12   State different from any defendant”; and (3) the aggregated amount in controversy “exceeds the
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                           13   sum or value of $5,000,000, exclusive of interests and costs.” 28 U.S.C. § 1332(d)(2), (d)(5)(B).
                           14          14.     Based on the allegations pleaded in the Complaint, which are taken as true for
                           15   purposes of removal, this action satisfies CAFA’s requirements and is removable to this Court.
                           16   Defendant denies Plaintiffs’ factual allegations and further denies that Plaintiff, or the class he
                           17   purports to represent, are entitled to the requested damages. Defendant opposes class certification
                           18   and the merits of Plaintiff’s claim. For removal purposes, however, Plaintiff’s allegations establish
                           19   CAFA jurisdiction.
                           20          A.      Class Size
                           21          15.     This action is a putative class action within the meaning of CAFA. CAFA defines
                           22   “class action” as “any civil action filed under rule 23 of the Federal Rules of Civil Procedure or
                           23   similar State statute or rule of judicial procedure authorizing an action to be brought by 1 or more
                           24   representative persons as a class action.” 28 U.S.C. § 1332(d)(1)(B).
                           25          16.     Plaintiff seeks certification of the proposed class under California Code of Civil
                           26   Procedure § 382, which authorizes “representative actions” when “the question is one of a common
                           27   or general interest, of many persons, or when the parties are numerous, and it is impracticable to
                           28   bring them all before the court.” (Exhibit A, Compl. ¶ 61.)

                                                                                -4-
                                NOTICE OF REMOVAL
                                 Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 5 of 46



                            1          17.     Plaintiff alleges that the putative class contains “on information and belief, more
                            2   than one hundred” potential members. (Exhibit A, Compl. ¶ 66.)
                            3          18.     Accordingly, this is a putative class action in which the aggregate number of
                            4   proposed class members exceeds 100 members.
                            5          B.      Minimal Diversity Exists
                            6          19.     Minimal diversity under CAFA exists if “any member of a class of plaintiffs is a
                            7   citizen of a State different from any defendant.” 28 U.S.C. § 1332(d)(2)(A).
                            8          20.     Upon information and belief, Plaintiff is a citizen of California, (Exhibit A, Compl.
                            9   ¶ 6), and the class is defined as “All natural persons residing in California who while having a
                           10   Facebook account, ordered Blu-ray or DVD videos on www.deepdiscount.com during the time the
                           11   Meta Pixel was active on www.deepdiscount.com,” (Id. ¶ 62); Aminiasl v. Volkswagen Grp. of
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                           12   Am., Inc., No. CV 23-1186-MWF (AFMx), 2023 WL 3005003, at *2 (C.D. Cal. Apr. 19, 2023)
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                           13   (“Nevertheless, a defendant seeking to remove a case to federal court may rely solely on an
                           14   allegation of residence in the complaint because ‘a person’s residence is prima facie evidence of
                           15   domicile and citizenship.’”) (quoting Lee v. BMW of N.A., LLC, No. SACV 19-01722 JVS (ADSx),
                           16   2019 U.S. Dist. LEXIS 216086, at *2 (C.D. Cal. Dec. 16, 2019); see also Ehrman v. Cox
                           17   Commc’ns, Inc., 932 F.3d 1223, 1227 (9th Cir. 2019) (“A defendant's allegations of citizenship
                           18   may be based solely on information and belief.”)
                           19          21.     For the purposes of minimal diversity, a limited liability company (“LLC”) is a
                           20   “citizen of the State where it has its principal place of business and the State under whose laws it
                           21   is organized.” 28 U.S.C. § 1332(d)(10)
                           22          22.     Defendant is an LLC and is organized in Delaware with its principal place of
                           23   business in Florida. Therefore, Defendant is a citizen of Delaware and Florida.
                           24          23.     The minimal diversity requirement is met because at least one putative class
                           25   member is diverse from Defendant.
                           26

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                                NOTICE OF REMOVAL
                                 Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 6 of 46



                            1           C.        Amount in Controversy
                            2           24.       CAFA permits courts to aggregate the claims of the individual putative class
                            3   members “to determine whether the matter in controversy exceeds the sum or value of $5,000,000,
                            4   exclusive of interest and costs.” 28 U.S.C. § 1332(d)(6).
                            5           25.       Where a class action complaint does not expressly allege that more than $5 million
                            6   is in controversy, “the defendant ordinarily may satisfy the amount-in-controversy requirement by
                            7   making a plausible assertion of the amount at issue in its notice of removal.” Moe v. GEICO Indem.
                            8   Co., 73 F.4th 757, 761 (9th Cir. 2023). “Among other items, the amount in controversy includes
                            9   damages (compensatory, punitive, or otherwise), the costs of complying with an injunction, and
                           10   attorneys’ fees awarded under fee-shifting statutes or contract.” Fritsch v. Swift Transp. Co. of
                           11   Ariz., LLC, 899 F.3d 785, 793 (9th Cir. 2018)
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                           12           26.       Plaintiffs seek attorney fees, costs, and injunctive relief, all of which further
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                           13   contribute to an amount in controversy exceeding $5 million. See Guglielmino v. McKee Foods
                           14   Corp., 506 F.3d 696, 700 (9th Cir. 2007) (attorney fees included in determining amount in
                           15   controversy); Chavez v. JPMorgan Chase & Co., 888 F.3d 413, 416 (9th Cir. 2018) (noting amount
                           16   in controversy may include cost of complying with an injunction).
                           17           27.       Plaintiff alleges the damages purportedly suffered by him and the putative class are
                           18   extensive. Plaintiff requests liquidated damages of $2,500 per violation of the VPPA and
                           19   “reasonable attorneys’ fees, other litigation costs, injunctive and declaratory relief, and punitive
                           20   damages in an amount to be determined by a jury and sufficient to prevent and deter the same or
                           21   similar conduct by DeepDiscount in the future.” (Exhibit A, Compl. ¶ 80); liquidated damages of
                           22   $500 per violation of the Cal. Civ. Code § 1799.3 (id. ¶ 104); and extensive injunctive relief and
                           23   restitution under the UCL (id. ¶¶ 105-06). It stands to reason that Plaintiff is plausibly seeking
                           24   amounts in excess of $5,000,000 in damages and/or other relief related to the individual and
                           25   proposed class-wide claims.
                           26           28.       Defendant does not concede, however, that Plaintiff or any putative class member
                           27   is entitled to any damages or other relief or concede that Defendant is liable for any conduct alleged
                           28   in this action.

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                                NOTICE OF REMOVAL
                                 Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 7 of 46



                            1            D.     CAFA Exceptions
                            2            29.    This action does not fall within the exclusions to removal jurisdiction described in
                            3   28 U.S.C. §§ 1332(d)(4), (d)(9) or 28 U.S.C. § 1453(d).
                            4   V.       VENUE
                            5            30.    Venue is proper in the United States District Court for the Northern District of
                            6   California pursuant to 28 U.S.C. §§ 84(a), 1391, 1441(a), and 1446(a) because the Complaint was
                            7   filed in Alameda County, a county within this District, and this is the judicial district in which the
                            8   action arose.
                            9            31.    Assignment to the San Francisco Division or the Oakland Division is appropriate
                           10   under Civil Local Rule 3-2(d) because this action arose in the County of Alameda.
                           11   VI.      NOTICE TO THE STATE COURT AND TO PLAINTIFF
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                           12            32.    A true and correct copy of this Notice of Removal will be promptly served on
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                           13   Plaintiff and filed with the Clerk of the Superior Court of California, County of Alameda,
                           14   pursuant to 29 U.S.C. § 1446(d).
                           15                                      PRAYER FOR REMOVAL
                           16            WHEREFORE, Defendant respectfully requests that the above action now pending in the
                           17   Superior Court of California, County of Alameda, be removed to the United States District Court
                           18   for the Northern District of California.
                           19   Dated:    September 12, 2024               Respectfully submitted,
                           20
                                                                           BAKER & HOSTETLER LLP
                           21

                           22

                           23                                              By:
                                                                                   Teresa C. Chow
                           24
                                                                           Attorneys for Defendant
                           25                                              DIRECTTOU, LLC

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                                NOTICE OF REMOVAL
Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 8 of 46




               EXHIBIT A
      Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 9 of 46



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 8   Attorneys for Plaintiff and the Putative Class
 9
10                    SUPERIOR COURT FOR THE STATE OF CALIFORNIA

11                                        COUNTY OF ALAMEDA

12
13   JONATHAN HOANG TO, individually and on           Case No. __             _ ____
     behalf of all others similarly situated,
14                                                    CLASS ACTION COMPLAINT FOR:
15                           Plaintiff,               (1) Violation of the Video Privacy
16                                                    Protection Act (18 U.S.C. § 2710);
     v.
17                                                    (2) Violation of Cal. Civ. Code §
     DIRECTTOU, LLC, a Delaware Limited               1799.3; and
18   Liability Company
19                                                     (3) Violation of Business & Professional
                            Defendant.                  Code §§ 17200 et seq. (UCL).
20
                                                      JURY TRIAL DEMANDED
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          Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 10 of 46



 1               Plaintiff Jonathan Hoang To alleges the following based upon personal knowledge, or,

 2    where applicable, information, belief, and the investigation of counsel:

 3                                        NATURE OF THE ACTION

 4              1.              This is a privacy class action lawsuit brought under California Code of Civil

 5   Procedure § 382 against Defendant DirectToU, LLC (“Defendant” or “DeepDiscount”) seeking

 6   statutory damages, civil penalties, restitution, disgorgement of profits, declaratory relief, public

 7   injunctive relief, and reasonable attorney’s fees and costs pursuant to the Video Privacy Protection

 8   Act, 18 U.S.C. § 2710 (the “VPPA”), Cal. Civ. Code § 1799.3, and Cal. Business & Professions

 9   Code §§ 17200 (“UCL”).

10              2.       DeepDiscount develops, owns and operates a a website www.deepdiscount.com

11   that sells DVD and Blu-ray videos to customers in the U.S. and internationally.1 The website
12   features over three hundred thousand (300,000) prerecorded DVD and Blu-ray videos.2 As
13   DeepDiscount states on its website, “DeepDiscount.com is dedicated to providing heavily

14   discounted prices when shopping for DVDs, Blu-rays, CDs and Vinyl online.”3
15              3.       Despite its clear legal obligations under the federal and California law, Defendant

16   knowingly and intentionally discloses its customers’ personally identifiable information— including

17   a record of every DVD or Blu-ray video they purchased (“Personally Identifiable Information” or

18   “PII”)—to a third party, Meta Platforms Inc. (formerly known as Facebook) (“Meta” or

19   “Facebook”), without its customers’ consent.

20              4.       Federal law recognizes, through the Video Privacy Protection Act (“VPPA”), that

21   our video-viewing habits are intimately private. The law accordingly requires companies that sell,

22   rent, or offer subscriptions to prerecorded videos to maintain their customers’ privacy and prohibits,

23   among other things, the knowing disclosure of customers’ video choices to any third party without

24   the customers’ specific advance written consent.

25
      1
26        See https://www.deepdiscount.com (Last visited August 12, 2024)
      2
          See https://www.deepdiscount.com/search (Last visited August 12, 2024).
27    3
          See https://www.deepdiscount.com/about-us (Last visited August 12, 2024.

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                                                          COMPLAINT
31                                                            2
          Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 11 of 46



 1               5.         The California Constitution similarly recognizes that all people are by nature

 2   entitled to a right to privacy.4 Cal. Civ. Code § 1799.3 accordingly prohibits video sellers or renters
 3   from disclosing “any personal information or the contents of any record, including sales or rental

 4   information, which is prepared or maintained by that person, to any person, other than the individual

 5   who is subject of the record, without the written consent of that individual.”5
 6                                                       PARTIES

 7               6.         Plaintiff Huang To is, and has been at all relevant times, a resident of Los Angeles,

 8   California.       In    or   about      May   15,   2023,   Plaintiff   purchased   three   movies     from

 9   www.deepdiscount.com. Throughout the time that Plaintiff purchased prerecorded DVDs and Blu-

10   rays on Defendant’s website, he has had a Facebook account.

11               7.         Defendant DirectToU, LLC is a Delaware Limited Liability Company, based in

12   Plantation, Florida.

13                                                   JURISDICTION

14               8.         This Court has jurisdiction over Plaintiff’s claim pursuant to 18 U.S.C. § 2710.

15               9.         This Court has jurisdiction over Plaintiff’s claim pursuant to Cal. Civ. Code §

16   1799.3.

17               10.        This Court has jurisdiction over Plaintiff’s claims for restitution, disgorgement or

18   profits, and public injunctive relief pursuant to Cal. Bus. & Prof. Code §§ 17200 et seq.

19               11.        This Court has personal jurisdiction over the parties because Defendant has

20   continuously and systematically conducted business in the State of California, and Defendant directs

21   substantial business activity, including the shipping of DVD’s and Blu-rays, into California.

22   Likewise, Plaintiff is a California resident whose rights were violated in the State of California as a

23   result of his contact with Defendant from and within California.

24   ///

25   ///

26                                                        VENUE

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      4
28         Ca. Const., art. I, § 1.
      5
           See Cal. Civ. Code § 1799.3(a).
30
                                                         COMPLAINT
31                                                           3
           Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 12 of 46



 1                  12. Venue is proper in the County of Alameda pursuant to Cal. Code Civ. Proc. § 395(a)

 2    and § 395.5, because Defendant does not reside in California and has not designated any principal

 3    place of business in California and may therefore be sued in any county.

 4                                             FACTUAL BACKGROUND

 5
       I.         DeepDiscount Provides Video Tape Services to Plaintiff and Its Other Customers.
 6
                 13.      DeepDiscount          operates      a     DVD        and      Blu-ray   sales   website
 7
     (www.deepdiscount.com), on which consumers can purchase prerecorded videos on DVD and Blu-
 8
     ray formats.6
 9
                 14.      DeepDiscount’s website offers hundreds of thousands of pre-recorded videos for
10
     sale.
11
                 15.      Once a customer purchases a DVD or Blu-ray video, Defendant ships the purchased
12
     DVD or Blu-ray to the customer.7
13
                 16.      Thus, Defendant is a “video tape service provider” within the meaning of 18 U.S.C.
14
     § 2710(a)(4) because it is engaged in the business of “rental, sale, or delivery of prerecorded video
15
     cassette tapes or similar audio visual materials.”
16
                 17.      And, Plaintiff and other customers are “consumers” within the meaning of 18
17
     U.S.C. § 2710(a)(1) because they are “subscriber[s] of goods or services from a video tape service
18
     provider.”
19
                 18.      Defendant is also a “person providing video recording sales or rental services”
20
     within the meaning of Cal. Civ. Code § 1799.3(a), because it is engaged in the business of “providing
21
     video recording sales or rental services.”
22
                 19.      And, Plaintiff and other customers are “person[s] who is the subject of the records”
23
     under Cal. Civ. Code § 1799.3(c).
24
25     6
           See https://www.deepdiscount.com/movies (last visited on August 12, 2024).
       7
26         See https://www.deepdiscount.com/checkout (last visited August 12, 2024).

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                                                           COMPLAINT
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          Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 13 of 46



 1    II.      DeepDiscount Maintains a Meta Pixel on Its Website

 2            20.       On information and belief, Defendant first implemented the Meta Pixel on its
 3   website beginning in or about November 2016 and continues to maintain the Meta Pixel on its
 4   website at present.
 5            21.       According to the FTC: “Pixel tracking can be monetized in several ways. One way
 6   to monetize pixel tracking is for companies to use the tracking data collected to improve the
 7   company’s own marketing campaigns. The data can be used to target more specific audiences with
 8   ads and other marketing messages. Another is that companies can monetize the data collected by
 9   further optimizing their own ad targeting systems and charging other companies to use its advertising
10   offerings.”8
11             22.      Meta, which operates Facebook and was called Facebook, Inc. until changing its
12   name in January 2022, is the world’s largest social media company. Meta reported having 2.04
13   billion daily active users as of March 2023,9 and reported $116.61 billion in revenue in fiscal year
14   2022.10
15            23.       Meta’s current revenue, as well as its revenue when the company was called
16   Facebook, Inc., has been derived almost entirely from selling targeted advertising to Facebook users,
17   users of its family of apps including Instagram, and internet users on non-Facebook sites that
18   integrate Meta marketing source code on their websites. Meta reported in Fiscal Year 2022 that its
19   revenue from advertising was over $113 billion and Meta stated that it “generated substantially all
20   of our revenue from selling advertising placements on our family of apps to marketers.” 11 In its 10k
21
      8
22     See https://www.ftc.gov/policy/advocacy-research/tech-at-ftc/2023/03/lurking-beneath-surface-hidden-impacts-
      pixel-tracking (citing M. Eddy. “How Companies Turn Your Data Into Money.” PC Mag. October 10,
23    2018. https://www.pcmag.com/news/how-companies-turn-your-data-into-money) (last visited June 13, 2023.)
      9
        Meta Reports First Quarter 2023 Results, https://s21.q4cdn.com/399680738/files/doc_news/Meta-Reports-First-
24    Quarter-2023-Results-2023.pdf
      10
         Meta Reports Fourth Quarter and Full Year 2022 Results, 2/1/23,
25    https://s21.q4cdn.com/399680738/files/doc_financials/2022/q4/Meta-12.31.2022-Exhibit-99.1-FINAL.pdf (last
      visited 6/6/2023).
26    11
         Meta, SEC 10k filing for the Fiscal Year Ending Dec. 31, 2022,
      https://www.sec.gov/Archives/edgar/data/1326801/000132680123000013/meta-20221231.htm (last visited June 19,
27    2022).

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                                                       COMPLAINT
31                                                         3
       Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 14 of 46



 1   filing covering the fiscal year 2018, Facebook similarly admitted that, “We generate substantially

 2   all of our revenue from selling advertising placements to marketers.” 12
 3           24.       Facebook describes itself as a “real identity platform,” 13 meaning users are

 4   allowed only one account and must share “the name they go by in everyday life.” 14 Therefore, when

 5   users create an account, they must provide their first and last name, along with their birthday and

 6   gender. 15
 7           25.       Facebook sells advertising space by highlighting its ability to target users. 16
 8   Facebook can target users so effectively because it surveils user activity both on and off its site. 17
 9   This allows Facebook to make inferences about users beyond what they explicitly disclose, like their

10   “interests,” “behavior,” and “Connections”. 18 Facebook complies this information into a generalized
11   dataset called “Core Audiences”, which advertisers use to apply highly specific filters and

12   parameters for their targeted advertisements. 19
13           26.       Advertisers can also build “Custom Audiences.” 20 Custom Audiences enable

14   advertisers to reach “people who have already shown interest in [their] business, whether they’re

15   loyal customers or people who have visited [their] website.” 21 Advertisers can use a Custom

16   Audience to target existing customers directly, or they can use it to build a “Lookalike Audiences,”

17   which “leverages information such as demographics, interests, and behavior from your source

18
      12
19       Facebook, SEC 10k filing for the Fiscal Year Ending Dec. 31, 2018.
      https://www.sec.gov/Archives/edgar/data/1326801/000132680119000009/fb-12312018x10k.htm.
      13
20       Sam Schechner and Jeff Horwitz, How Many Users Does Facebook Have? The Company Struggles to Figure It
      Out, WALL. ST. J. (Oct. 21, 2021).
      14
21       FACEBOOK, COMMUNITY STANDARDS, PART IV INTEGRITY AND AUTHENTICITY,
      https://www.facebook.com/communitystandards/integrity_authenticity.
      15
         FACEBOOK, SIGN-UP, http://www.facebook.com/
22    16
         FACEBOOK, WHY ADVERTISE ON FACEBOOK, https://www.facebook.com/business/help/205029060038706.
      17
         FACEBOOK, ABOUT FACEBOOK PIXEL,
23    https://www.facebook.com/business/help/742478679120153?id=1205376682832142.
      18
         FACEBOOK, AD TARGETING: HELP YOUR ADS FIND THE PEOPLE WHO WILL LOVE YOUR BUSINESS,
24    https://www.facebook.com/business/ads/ad-targeting.
      19
         FACEBOOK, EASIER, MORE EFFECTIVE WAYS TO REACH THE RIGHT PEOPLE ON
25    FACEBOOK,https://www.facebook.com/business/news/Core-Audiences.
      20
         FACEBOOK, ABOUT CUSTOM
26    AUDIENCES,https://www.facebook.com/business/help/744354708981227?id=2469097953376494
      21
         FACEBOOK, ABOUT EVENTS CUSTOM
27    AUDIENCE,https://www.facebook.com/business/help/366151833804507?id=300360584271273.

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                                                     COMPLAINT
31                                                       4
       Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 15 of 46



 1   audience to find new people who share similar qualities.” 22 Unlike Core Audiences, Custom

 2   Audiences require an advertiser to supply the underlying data to Facebook. They can do so through

 3   two mechanisms: by manually uploading contact information for customers, or by utilizing

 4   Facebook’s “Business Tools,” which collect and transmit the data automatically. 23 One such

 5   Business Tool is the Meta Tracking Pixel.

 6           27.       The Meta Tracking Pixel is a piece of code that advertisers, like Defendant, can

 7   integrate into their website. Once activated, the Meta Tracking Pixel “tracks the people and type of

 8   actions they take.”24 When the Meta Pixel captures an action, it sends a record to Facebook. Once

 9   this record is received, Facebook processes it, analyzes it, and assimilates it into datasets like the

10   Core Audiences and Custom Audiences.

11           28.       Advertisers control what actions—or, as Facebook calls it, “events”—the Meta

12   Tracking Pixel will collect along with what pages a visitor views and what buttons a visitor clicks. 25
13   Advertisers can also configure the Meta Tracking Pixel to track other events. Meta offers a menu of

14   “standard events” from which advertisers can choose, including what content a visitor views or

15   purchases.26
16           29.       An advertiser can also create their own tracking parameters by building a “custom

17   event.”27
18           30.       Advertisers control how the Meta Tracking Pixel identifies visitors. The Meta

19   Tracking Pixel is configured to automatically collect “HTTP Headers” and “Pixel-specific Data.”28
20
      22
21       FACEBOOK, ABOUT LOOKALIKE
      AUDIENCES,https://www.facebook.com/business/help/164749007013531?id=401668390442328.
      23
22       FACEBOOK, CREATE A CUSTOMER LIST CUSTOM AUDIENCE,
      https://www.facebook.com/business/help/170456843145568?id=2469097953376494.
      24
23       FACEBOOK, RETARGETING, https://www.facebook.com/business/goals/retargeting.
      25
         See FACEBOOK, FACEBOOK PIXEL, ACCURATE EVENT TRACKING, ADVANCED,
      https://developers.facebook.com/docs/facebook-pixel/advanced/; see also FACEBOOK, BEST PRACTICES FOR
24    FACEBOOK PIXEL SETUP, https://www.facebook.com/business/help/218844828315224?id=1205376682832142.
      26
         FACEBOOK, SPECIFICATIONS FOR FACEBOOK PIXEL STANDARD EVENTS,
25    https://www.facebook.com/business/help/402791146561655?id=1205376682832142.
      27
         FACEBOOK, ABOUT STANDARD AND CUSTOM WEBSITE EVENTS,
26    https://www.facebook.com/business/help/964258670337005?id=1205376682832142.
      28
         FACEBOOK, FACEBOOK PIXEL, https://developers.facebook.com/docs/facebook-pixel/.
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                                                    COMPLAINT
31                                                      5
       Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 16 of 46



 1   Http Headers collect “IP Addresses, information about web browser, page location, document,

 2   [referrer] and persons using the website.”29 Pixel-specific Data includes “the Pixel ID and cookie.” 30
 3           31.        FTC Commissioner Rohit Chopra addressed the harms that can be caused by

 4   sharing information with Facebook when he stated in 2019, “Because behavioral advertising allows

 5   advertisers to use mass surveillance as a means to their undisclosed and potentially nefarious ends,

 6   Facebook users are exposed to propaganda, manipulation, discrimination, and other harms. . . .

 7   Facebook’s massive, private, and generally unsupervised network of advertisers has virtually free

 8   rein to microtarget its ads based on every aspect of a user’s profile and activity. The company’s

 9   detailed dossiers of private information includes things like a user’s location and personal

10   connections, but it also includes the history of everything a user has ever done wherever Facebook

11   is embedded in the digital world.”31

12    III.    DeepDiscount Knowingly and Intentionally Sends Plaintiff’s and Other Customers’
13            Personally Identifiable Information (PII) to Meta
             32.       As stated above, beginning in or about November 2016 and continuing to the
14
     present, Defendant has maintained the Meta Pixel on its website—www.deepdiscount.com—and
15
     transmitted Plaintiff’s and other customers’ personal information or the contents of any record,
16
     including [their] sales or rental information,” including “information which identifies a person as
17
     having requested or obtained specific video materials or services”, including their personal
18
     identifiers, without their consent, to Meta in accordance with the Meta Pixel’s configuration.
19
             33.       When Plaintiff visited www.deepdiscount.com, the Meta Pixel automatically
20
     caused the Plaintiff’s or other customers’ personal identifiers, including IP addresses and the c_user,
21
     _fr, _and datr cookies, to be transmitted to Meta, attached to the fact that the Plaintiff/customer had
22
     visited the website and the titles of the webpages the Plaintiff/other customer viewed.
23
24
      29
         See id.
25    30
         See id.
      31
         See Dissenting Statement of FTC Commissioner Rohit Chopra, In re Facebook, Inc., Commission File No,
26    1823109, July 24, 2019.
      https://www.ftc.gov/system/files/documents/public_statements/1536911/chopra_dissenting_statement on
27    facebook_7-24-19.pdf.

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                                                      COMPLAINT
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       Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 17 of 46



 1             34.       The cookies that were transmitted as a result of the Meta Pixels that Defendant

 2   installed on its website conveyed Plaintiff’s and customers’ Facebook IDs (through the c_user

 3   cookie), which can be used by Facebook and any ordinary person to find the user’s real name, the

 4   specific and unique web browser from which the customer is sending the communication, and an

 5   encrypted combination of the information contained in those two cookies (fr cookie).

 6             35.       DeepDiscount’s hosted Meta Tracking Pixel transmits information associated

 7   with the Purchase event to Facebook, which is shown in Figure #1 below:32
 8                                                         Figure #1

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22             36.       The information associated with the Purchase event transmitted to Facebook,
23   permits an ordinary person to identify a specific individual’s video purchasing behavior.
24             37.       When a customer purchases a pre-recorded DVD or Blu-ray video, the Purchase
25   event transmits the Uniform Resource Locator (“URL”) accessed, which contains the title ID (“Title
26   ID”) of the purchased DVD or Blu-ray, which is shown in Figure #2 below:
27
28    32
           This data derives from a tool created and offered by Facebook.
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                                                           COMPLAINT
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      Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 18 of 46



 1                                                Figure #2

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23           38.     The Title ID of the purchased DVD and/or Blu-ray video can be used to identify
24   the movie by an ordinary person as follows. The Title ID can be entered into DeepDiscount.com’s
25   search bar, and the title of the purchased video is then identified, as shown in Figure #3 below:
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       Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 19 of 46



 1                                             Figure #3

 2
 3
 4
 5
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 7
 8           39.     A visitor who has not logged out of Facebook while purchasing a video on

 9   DeepDiscount will transmit the c_user cookie to Facebook. The c_user cookie contains that visitor’s

10   unencrypted Facebook ID. When accessing the above video, for example, the Meta Pixel on

11   DeepDiscount’s website compels the visitor’s browser to send multiple cookies, in addition to the

12   c_user cookie, as shown in Figure #4 below:

13                                                 Figure #4

14
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17
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22
23           40.     A Facebook ID, along with the title of the prerecorded video purchased, is PII.
24   Anyone can identify a Facebook profile-and all personal information publicly listed on that profile,
25   including a person’s first and last name—by appending the Facebook ID to the end of Facebook.com.
26   For example, Meta CEO Mark Zuckerberg’s Facebook ID is four and the URL
27   “www.facebook.com/4” will take you to Mark Zuckerberg’s Facebook page.
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                                                   COMPLAINT
31                                                     9
       Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 20 of 46



 1              41.   By compelling a visitor’s browser to disclose the c_user cookie alongside event

 2   data for videos, DeepDiscount knowingly and intentionally discloses information sufficient for an

 3   ordinary person to identify a specific individual’s video viewing and purchasing behavior.

 4              42.   When a visitor’s browser has recently logged out of Facebook, DeepDiscount

 5   compels the browser to send a smaller set of cookies, which are shown in Figure #5 below:

 6                                                  Figure #5

 7
 8
 9
10              43.   The fr cookie contains, at least, an encrypted Facebook ID and browser identifier. 33

11   The datr cookies also identifies a browser. 34 Facebook, at a minimum, uses the fr cookies to identify

12   users.35

13              44.   Without a corresponding Facebook ID, the fr cookie contains, at least, an

14   abbreviated and encrypted value that identifies the browser. Upon information and belief, Facebook

15   uses the cookie for targeted advertising.

16              45.   Facebook, at a minimum, uses the fr and c_user cookies to link Facebook IDs and

17   corresponding Facebook profile.

18    IV.       Plaintiff’s Experience with DeepDiscount
19              46.   In or about 2010, Plaintiff created a Facebook account.

20              47.   In 2023 and 2024, Plaintiff purchased prerecorded Blu-ray videos on

21   www.deepdiscount.com.

22              48.   Plaintiff frequently visits www.deepdiscount.com to, among other things, purchase

23   prerecorded DVD and Blu-ray videos.

24
      33
25       DATA PROTECTION COMMISSIONER, FACEBOOK IRELAND LTD, REPORT OF RE-AUDIT (Sept. 21, 2012),
      http://www.europe-v-facebook.org/ODPC_Review.pdf.
      34
26       FACEBOOK, COOKIES & OTHER STORAGE TECHNOLOGIES, https://www.facebook.com/policy/cookies/.
      35
         Id.
27
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                                                   COMPLAINT
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        Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 21 of 46



 1            49.      Plaintiff’s default browser is Google Chrome, and he uses Google Chrome to access

 2   www.deepdiscount.com.

 3            50.      When Plaintiff purchases videos on www.deepdiscount.com, on information and

 4   belief, Defendant discloses to Facebook his Facebook ID, browser identifiers, and other identifying

 5   information.

 6            51.      When Plaintiff purchases videos on www.deepdiscount.com, on information and

 7   belief, Defendant discloses his Purchase data, which includes the purchases that he makes. This

 8   Purchase data, which DeepDiscount transmits through first-party cookies, contains the ID’s of

 9   prerecorded videos that Plaintiff purchases.

10            52.      Plaintiff discovered that DeepDiscount surreptitiously collected and transmitted his

11   Personally Identifiable Information in or about April 2024.

12                             TOLLING OF THE STATUES OF LIMITATIONS

13            53.      Each unauthorized transmission of Plaintiff’s and customers’ Personally

14   Identifiable Information by Defendant is a separate unlawful act that triggers anew the relevant

15   statute of limitations.

16            54.      Additionally, any applicable statutes of limitation have been tolled by: (1) the

17   fraudulent concealment doctrine based on Defendant’s knowing and active concealment and denial

18   of the facts alleged herein including but not limited to its incorporation of the tracking pixels and

19   devices; and (2) the delayed discovery doctrine, as Plaintiff and customers did not and could not

20   reasonably have discovered Defendant’s conduct alleged herein until shortly before the filing of this

21   Complaint. Plaintiff and customers did not discover and could not reasonably have discovered that

22   Defendant was disclosing and releasing their Personally Identifiable Information in the ways set

23   forth in this Complaint until shortly before this lawsuit was filed in consultation with counsel.

24            55.      The Meta Pixel, and other tracking tools on DeepDiscount’s website, were and

25   remain entirely invisible to a website visitor.

26            56.      Through no fault of their own or lack of diligence, Plaintiff and other customers

27   were deceived and could not reasonably discover Defendant’s unlawful conduct. Defendant’s

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                                                       COMPLAINT
31                                                        11
        Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 22 of 46



 1   Privacy Policy does not inform Defendant’s customers that their Personally Identifiable Information

 2   will be disclosed to unauthorized third parties such as Meta as described in this Complaint.

 3           57.       Plaintiff was therefore ignorant of the information essential to pursue his claims,

 4   without any fault or lack of diligence on his part.

 5           58.       Defendant has exclusive knowledge that DeepDiscount’s website incorporates the

 6   Meta Pixel, and other tracking tools, and the information those pixels and tools are configured to

 7   collect and disclose, and yet Defendant failed and continues to fail to disclose to its website visitors,

 8   including Plaintiff and other customers, that by interacting with DeepDiscount’s website their PII

 9   would be disclosed to, released to, or intercepted by Meta and other unauthorized third parties.

10           59.       Under the VPPA and California law, Defendant was and continues to be under a

11   duty to disclose the nature, significance, and consequences of its collection and treatment of website

12   visitors’ and customers’ PII. However, to date, Defendant has not conceded, acknowledged, or

13   otherwise indicated to DeepDiscount’s customers and other website visitors that DeepDiscount

14   discloses or releases their PII to unauthorized third parties. Accordingly, Defendant is estopped from

15   relying on any statute of limitations.

16           60.       Moreover, all applicable statutes of limitation have also been tolled pursuant to the

17   discovery rule.

18                                    CLASS ACTION ALLEGATIONS

19            61.      Plaintiff brings this action, on behalf of himself and all others similarly situated, as

20    a class action pursuant to Code of Civil Procedure § 382.

21            62.      Pursuant to Code of Civil Procedure § 382, Plaintiff seeks to represent the

22    following Class (members of which are collectively referred to herein as “Class Members”):

23                     All natural persons residing in California who while having a Facebook
                       account, ordered Blu-ray or DVD videos on www.deepdiscount.com
24                     during the time the Meta Pixel was active on www.deepdiscount.com.
25            63.      Excluded from the Class are Defendant, its employees, agents and assigns, and any
26     members of the judiciary to whom this case is assigned, their respective court staff, the members
27     of their immediate families, and Plaintiff’s counsel.
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                                                     COMPLAINT
31                                                      12
     Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 23 of 46



 1            64.   Plaintiff reserves the right to revise or amend the above Class definition based on

 2   the discovery of new information.

 3            65.   This action has been brought and may be properly maintained as a class action

 4   under Code of Civil Procedure § 382 because there is a well-defined community of interest in the

 5   litigation, the proposed Class is easily ascertainable, and Plaintiff is a proper representative of the

 6   Class.

 7            66.   Numerosity: The potential members of the proposed Class, as defined and

 8   identified herein, are, on information and belief, more than one hundred, and so numerous that

 9   joinder of all members of the Class is impracticable.

10            67.   Typicality: Plaintiff ’s claims are typical of the claims of the Class. Plaintiff has

11   been a customer to DeepDiscount since 2023, he used DeepDiscount’s website to purchase

12   DVD’s and Blu-ray videos and, as a result, his PII was disclosed to Meta.

13            68.   Commonality: Common questions of fact and law exist as to all Class Members

14   and predominate over the questions affecting only individual members of the Class. With respect

15   to the Class Members these common questions include but are not limited to:

16                  (a)     Whether Defendant had Meta Pixels embedded on its website that disclosed

17   Class Members’ PII to Meta and/or any other unauthorized third party;

18                  (b)     Whether Defendant is engaged in the business of “rental, sale, or delivery

19   of prerecorded video cassette tapes or similar audio visual materials” and, thus, is a “video tape

20   service provider” within the meaning of 18 U.S.C. § 2710(a)(4);

21                  (c)     Whether Class Members are “subscriber[s] of goods or services from a

22   video tape service provider” and, thus, are “consumers” within the meaning of 18 U.S.C. §

23   2710(a)(1);

24                  (d)     Whether Class Members’ information collected, disclosed, and shared by

25   Defendant with unauthorized third parties, including Meta, constitutes PII within the meaning of

26   the Video Privacy Protection Act, 18 U.S.C. §§ 2710 et seq.;

27                  (e)     Whether Defendant obtained “informed, written consent” from Class

28   Members within the meaning of 18 U.S.C. § 2710(b)(2)(b);

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                                                  COMPLAINT
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     Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 24 of 46



 1                 (f)     Whether DeepDiscount’s acts and practices violated the Video Privacy

 2   Protection Act, 18 U.S.C. §§ 2710 et seq.;

 3                 (g)     Whether the Class is entitled to liquidated penalties under 18 U.S.C. §

 4   2710(c)(2)(A), as a result of DeepDiscount’s conduct;

 5                 (h)     Whether the information DeepDiscount disclosed to Meta concerning Class

 6   Members’ video views and downloads constitutes “personal information or the contents of any

 7   record, including sales or rental information, which is prepared or maintain” by DeepDiscount

 8   within the meaning of Cal. Civ. Code § 1799.3(a);

 9                 (i)     Whether Defendant knowingly and intentionally disclosed Plaintiff’s and

10   Class Members’ “personal information or the contents of any record, including sales or rental

11   information” to Meta within the meaning of Cal. Civ. Code § 1799.3(a);

12                 (j)     Whether Class Members provided written consent to DeepDiscount’s

13   disclosure of their personal information or record contents to Meta within the meaning of Cal.

14   Civ. Code § 1799.3(a);

15                 (k)     Whether DeepDiscount’s acts and practices violated Cal. Civ. Code §

16   1799.3;

17                 (l)     Whether the Class is entitled to civil penalties under Cal. Civ. Code §

18   1799.3(c), as a result of DeepDiscount’s conduct;

19                 (m)     Whether Defendant’s acts and practices violated Business and Professions

20   Code §§ 17200, et seq;

21                 (n)     Whether Defendant’s acts and practices harmed Plaintiff and Class

22   Members;

23                 (o)     Whether Plaintiff and the Class Members are entitled to an injunction and

24   equitable relief, including but not limited to, restitution and disgorgement of profits; and

25                 (p)     Whether Plaintiff and the Class Members are entitled to damages and other

26   monetary relief, and if so, what is the appropriate amount of damages or other monetary relief;

27   and

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                                                  COMPLAINT
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     Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 25 of 46



 1                  (q)     Whether Plaintiff and Class Members are entitled to reasonable attorneys’

 2   fees and costs.

 3          69.     Adequacy of Representation: Plaintiff will fairly and adequately protect the

 4   interests of the Class. Plaintiff’s interests do not conflict with those of Class Members, he is not

 5   subject to any unique defenses, and has retained competent and experienced counsel that has

 6   experience in complex consumer protection class action and cases, as well as sufficient financial

 7   and legal resources to prosecute this case on behalf of the Class. Plaintiff and his counsel are

 8   committed to vigorously prosecuting this action on behalf of the members of the Class. Plaintiff

 9   and counsel anticipate no difficulty in managing the litigation of this case as a class action.

10          70.     Superiority of the Class Action: A class action is superior to other available means

11   for the fair and efficient adjudication of this controversy. Individual joinder of all Class Members

12   is not practicable, and questions of law and fact common to the Class predominate over any

13   questions of law and fact affecting only individual members of the Class. Class treatment will

14   allow those similarly situated persons to litigate their claims in the manner that is most efficient

15   and economical for the parties and the judicial system.

16          71.     Plaintiff reserves the right to add representatives for the Class, provided Defendant

17   is afforded an opportunity to conduct discovery as to those representatives.

18                                     FIRST CAUSE OF ACTION

19                Violation of the Video Privacy Protection Act, 18 U.S.C. § 2710, et seq.

20          72.     Plaintiff re-alleges and incorporates by reference each and every allegation set forth

21   in the preceding paragraphs.

22          73.     The VPPA prohibits a “video tape service provider” from knowingly disclosing

23   “personally identifying information” concerning any “consumer” to a third party without the

24   “informed, written consent . . . of the consumer” and the opportunity to opt out of disclosures. See

25   generally 18 U.S.C. § 2710.

26          74.     DeepDiscount is a “video tape service provider” because it is “engaged in the

27   business, in or affecting interstate commerce, of . . . delivery of prerecorded . . . audiovisual

28   materials.” 18 U.S.C. § 2710(a)(4).

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                                                 COMPLAINT
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      Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 26 of 46



 1           75.          Plaintiff and Class Members are “consumers” because they are “subscribers” to

 2   DeepDiscount’s services, each having purchased a video(s) from DeepDiscount’s library of pre-

 3   recorded videos. 18 U.S.C. § 2710(a)(1).

 4           76.     DeepDiscount discloses “personally identifiable information” of Plaintiff and other

 5   Class Members to Meta, and, on information and belief, other unauthorized third parties, because

 6   DeepDiscount sends “information which identifies a person as having requested or obtained

 7   specific video materials” from DeepDiscount, 18 U.S.C. § 2710(a)(3), specifically the title and/or

 8   identity of every video purchased alongside information that would permit an ordinary person to

 9   identify the user.

10           77.     DeepDiscount does not seek, let alone receive, “informed, written consent” from

11   Plaintiff and other Class Members, 18 U.S.C. § 2710(b)(2)(B), and it consequently never provides

12   them the opportunity to withdraw any such consent, 18 U.S.C. § 2710(b)(2)(iii).

13           78.      DeepDiscount provides Plaintiff’s and Class Members’ PII to Meta, and, on

14   information and belief, other unauthorized third parties, knowingly. In particular, DeepDiscount

15   installed, embedded, and/or otherwise permitted the presence of the Meta Pixel, on its website and

16   knew that this pixel and tracking tool would gather and disclose the titles and/or identities of

17   prerecorded videos purchased by Plaintiff and Class Members.

18           79.     By knowingly disclosing Plaintiff’s and other Class Members’ personal viewing

19   habits, DeepDiscount violates Plaintiff’s and other Class Members’ statutorily protected right to

20   privacy in their video-viewing habits and activities. See 18 U.S.C. § 2710(c).

21           80.     As a result of the above-described violations, DeepDiscount is liable to Plaintiff

22   and each Class Member for actual damages in an amount to be determined at trial or, alternatively,

23   for “liquidated damages in an amount of $2,500.” 18 U.S.C. § 2710(c)(2)(A). Under the Act,

24   DeepDiscount is also liable for reasonable attorneys’ fees, other litigation costs, injunctive and

25   declaratory relief, and punitive damages in an amount to be determined by a jury and sufficient to

26   prevent and deter the same or similar conduct by DeepDiscount in the future.

27           81.     Plaintiff, on behalf of himself and the Class, seeks relief as further described below.

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                                                  COMPLAINT
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      Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 27 of 46



 1                                   SECOND CAUSE OF ACTION

 2                                  Violation of Cal. Civ. Code § 1799.3

 3          82.     Plaintiff re-alleges and incorporates by reference each and every allegation set

 4   forth in the preceding paragraphs.

 5          83.     Cal. Civ. Code § 1799.3(a) prohibits video sellers from disclosing “any personal

 6   information or the contents of any record, including sales or rental information, which is prepared

 7   or maintained by that person, to any person, other than the individual who is subject of the record,

 8   without the written consent of that individual”.

 9          84.     DeepDiscount is a “person providing video recording sales or rental services” under

10   Cal. Civ. Code § 1799.3(a) because it is in the business of selling prerecorded videos.

11          85.     DeepDiscount knowingly and intentionally disclosed information that identified

12   Plaintiff’s and Class Members’ video DVD and Blu-ray purchase history to Meta, including their

13   Facebook ID’s and the title of the videos that Plaintiff and Class Members purchased.

14          86.     Plaintiffs and Class Members did not consent, in writing or otherwise, to

15   DeepDiscount’s disclosure of their video purchases to Meta. DeepDiscount’s disclosure of this

16   information to Meta therefore violated Cal. Civ. Code § 1799.3(a).

17          87.     Plaintiff, on behalf of himself and the Class, seeks relief as further described below.

18
                                      THIRD CAUSE OF ACTION
19
     Violation oF California’s Unfair Competition Law (UCL), Cal. Bus. & Prof. Code § 17200, et seq.
20
            88.     Plaintiff re-alleges and incorporates by reference each and every allegation set forth
21
     in the preceding paragraphs.
22
            89.     The UCL prohibits unfair competition in the form of any unlawful, unfair, or
23
     fraudulent business act or practice. California Business & Professions Code § 17204 allows "any
24
     person who has suffered injury in fact and has lost money or property" to prosecute a civil action
25
     for violation of the UCL.
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                                                 COMPLAINT
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      Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 28 of 46



 1          90.     Defendant’s acts, omissions, practices, and non-disclosures as alleged herein

 2   constituted unlawful, unfair, and fraudulent business acts and practices within the meaning of Cal.

 3   Bus. & Prof. Code § 17200, et seq.

 4          91.     The UCL draws upon various sources of law to establish regulations and standards

 5   for business practices within California. Defendant has engaged and continues to engage in

 6   business acts and practices that are unlawful because they violate Cal. Civ. Code. § 1799.3 and the

 7   VPPA, as set forth in this complaint.

 8          92.     Defendant’s acts and practices are also “unfair” in that they are immoral, unethical,

 9   oppressive, unscrupulous, and/or substantially injurious to consumers. Defendant secretly

10   disclosed, released, and otherwise misused Plaintiff’s and other customers’ video viewing

11   information, with no corresponding benefit to its affected customers and other website visitors.

12   And, because customers were unaware of Defendant’s incorporation of tracking tools into its

13   website and/or that Defendant would disclose and release their video viewing information to

14   unauthorized third parties, they could not have avoided the harm.

15          93.     Defendant should be required to cease its unfair and/or illegal disclosure of user

16   data. Defendant has reaped and continues to reap unjust profits and revenues in violation of the

17   UCL.

18          94.     “Actions for relief” under the UCL may be brought by various government officials

19   and “by a person who has suffered injury in fact and has lost money or property as a result of the

20   unfair competition.” Bus. & Prof. Code § 17204.

21          95.     Plaintiff has suffered injury in fact and has lost money or property as a result of

22   Defendant’s acts and practices because he would not have paid for Defendant’s services had he

23   known that Defendant was disclosing his and other customers’ personal identifiers and video

24   viewing information to unauthorized third parties in violation of its legal obligations, social norms,

25   own statements on its website, and reasonable consumer expectations.

26          96.     To protect consumers from Defendant’s unfair and/or unlawful practices, Plaintiff

27   seeks an order from this Court enjoining Defendant from unlawfully disclosing customers’ private

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                                                  COMPLAINT
31                                                   18
      Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 29 of 46



 1   information about their personal video-viewing habits and activities to unauthorized third parties

 2   without their customers informed and written consent.

 3          97.     Plaintiff lacks an adequate remedy at law because the ongoing harms from

 4   Defendant’s collection and disclosure of its customers’ information must be addressed by public

 5   injunctive relief and, due to the ongoing and nature of the harm, the harm cannot be adequately

 6   addressed by monetary damages alone.

 7          98.     This action, if successful, will enforce an important right affecting the public

 8   interest and would confer a significant benefit on the general public. Private enforcement is

 9   necessary and places a disproportionate financial burden on Plaintiff in relation to Plaintiff’s stake

10   in the matter. Because this case is brought for the purposes of enforcing important rights affecting

11   the public interest, Plaintiff also seeks the recovery of attorneys’ fees and costs in prosecuting this

12   action against Defendant under Code of Civil Procedure § 1021.5 and other applicable law.

13          99.     Plaintiff seeks relief as further described below.

14                                          PRAYER FOR RELIEF

15          WHEREFORE, Plaintiff prays for relief and judgement as follows:

16          100.    An order appointing Plaintiff as the Class Representative;

17          101.    An order appointing the undersigned attorneys as Class Counsel;

18          102.    An order declaring that Defendant’s conduct violates the statutes referenced herein;

19          103.    An order awarding Plaintiff and Class Members actual damages but not less than

20   liquidated damages in an amount of $2,500 per Class Member per violation of the Video Privacy

21   Protection Act, 18 U.S.C. § 2710, et seq;

22          104.    An order awarding Plaintiff and Class Members a civil penalty of $500 per violation

23   pursuant to Cal. Civ. Code § 1799.3(c);

24          105.    An order restoring to Plaintiff and other Class Members any money and property

25   acquired by Defendant through its wrongful conduct;

26          106.    An injunction forbidding Defendant from disclosing information about users’ video

27   viewing choices to third parties pursuant to 18 U.S.C. § 2710(c)(2)(D) and pursuant to Cal. Bus.

28   & Prof. Code § 17200 et seq.;

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                                                  COMPLAINT
31                                                   19
     Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 30 of 46



 1          107.   An award of reasonable attorneys’ fees and costs of suit, including costs of

 2   investigation pursuant to 28 U.S.C § 2710(c)(2)(C), Cal. Civ. Proc. § 1021.5 and any other

 3   applicable law;

 4          108.   An award of pre- and post-judgment interest as provided by law; and

 5          109.   An award of such other and further relief, at law and in equity, as the nature of this

 6   case may require or as this Court deems just and proper.

 7
                                                  Respectfully submitted,
 8
     Dated: August 12, 2024                       ____/s/ Julian Hammond________
 9                                                JULIAN HAMMOND (SBN 268489)
10                                                jhammond@hammondlawpc.com
                                                  ADRIAN BARNES (SBN 253131)
11                                                abarnes@hammondlawpc.com
                                                  POLINA BRANDLER (SBN 269086)
12                                                pbrandler@hammondlawpc.com
                                                  ARI CHERNIAK (SBN 290071)
13                                                acherniak@hammondlawpc.com
                                                  HAMMONDLAW, P.C.
14                                                1201 Pacific Ave, 6th Floor
                                                  Tacoma, WA 98402
15                                                (310) 807-1666

16                                                Attorneys for Plaintiff and the Putative Class
17
18
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                                                COMPLAINT
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Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 31 of 46




               EXHIBIT B
Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 32 of 46
Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 33 of 46
Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 34 of 46




               EXHIBIT C
Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 35 of 46
Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 36 of 46




               EXHIBIT D
                         Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 37 of 46
                                                                                                                                                  POS-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Rate Bar number and address)                                                      FOR COURT USE ONLY
  )ULIAN HAMMOND, ESQ.
  HAMMONDLAW, P C.
  I 20( PAC)F)C AVENUE, SUITE 600
  TACOMA, WA 92402

              TELEPHGNE No '          I P„6P I   6766        FAX Na. (Opbonei)

 E-MAIL ADDRESS (Optional).

      ATTORNEY FOR (Name)

 SUPERIOR COURT OF CALIFORNIA, COUNTY OF                         ALAMEDA
                               1225 FALLON STREET
       M(L(NGADDREss:
                               OAKLAND ( A 94612
                               RENE C DAVIDSON
             BRANCH
            NAME'l
            AINTIFF/FAIT)ONER:                                                                                 CASE NUMBER
                                            IONA THAN HOANG TO FT AL
                                                                                                                         24CV086809
DEFENDANT/RESPONDENT:

                                                                                                               ref No orFrieNo.
                                  PROOF OF SERVICE OF SUMI18ONS

                                    (Seperale proof of service is required for each party served.)
1. At the time of service was at least 18 years of age and not a party to this action.
                                  I


2. 1 served copies of:
     a        g summons
       b      H        complaint
       c      P        Alternative Dispute Resolution (ADR)) package
       d.     g        Civil Case Cover Sheet (served in comp/ex cases only)
       e.     P        cross-complaint
       f.     Elother (specffydocuments): NOTICE OF CASE MANAGEMENT CONFERENCE; NOTICE OF E-FILING
                                          CONFIRMATION
3. a, Party served (specify name of party as shown on documents served):

            DIRECITOU, LLC
       b    g         Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                      under item 5b on whom substituted service was made) (specify name and relationship lo the party named in item 3a):
            THE CORPORATION TRUST COMPANY AS REGISTERED AGENT, ACCEPTED BY ROBIN NUIT-BANKS (MANAGING AGENT EMPLOYED BY REGISTERED AGENT)
4. Address where the party was served:
             1209 ORANGE STo WILMINGTON, DE 19801
5. served the pariy (check proper box)
  I



       a    g          by personal service. personally delivered the documents listed in item 2 ta the party or person authorized to
                                                   I


                       receive service of process for the party (1) on (date): 08/15/2024             (2) at (lime): 11:00 AM
       b.   p           by substituted service. On (dele):                     at (time).-            leff the documents listed in item 2 with or
                        m ths presencs of (name and title or relationship lo person indicatedin item 3):
                                                                                                           I




                       (1)   0          (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                                        of the person to be served, informed him or her of the general nature of the papers.
                                                                     I



                       (2)   CI         (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                                        place of abode of the party. informed him or her of the general nature of the papers.
                                                                         I



                       (3)   0          (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                        address of the person to be served, other than a United States Postal Service post office box. informed
                                                                                                                                              I


                                        him or her of the general nature of the papers.

                       (4)   CI         Ithereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
                                        at the place where the copies were left (Code Civ. Pracu 0 41 5.20). 1 mailed the documents on

                       (5)   0
                                        (date):
                                        I
                                                              from (city):                            or0     a declaration of mailing is attached.
                                          attach a declaration, of diligence stating actions taken first to attempt personal Be)vice.
                                                                                                                                                    Page I of2
 Form Adopted for Mandatory Use
   Judroal Counoi of Cafdomra                              PROOF OF SERVICE OF SUMMONS
 PCS-Ol 0 IRau January I, 2007)
                                Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 38 of 46

                                                                                                                   CASE NUMBER
       PLAINTIFF/PETITIONER:
                                             3ONATHAN HOANO TO FT AL
                                                                                                                      24CV086809
 DEFENDANT/RESPONDENT:                        DIRECTTOU, LLC


5. c.                     by mail and acknowledgment of receipt of service. mailed the documents listed in item 2 to the party, to the
                                                                                  I


                          address shown in item 4, by first-class mail, postage prepaid,
                          (1) on (date)                                                (2) from (city):
                          (3)   g       with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed
                                        to me. (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. proc, 8 415.30.)
                          (4)   P       to an address outside California with return receipt requested. (Code Civ. Proc., 8 415.40.)

      d     El            by other means (specify means of service and authorizing code section):




                P         Additional page describing service is attached.

6. The "Notice to the Person Served" (on the summons) was completed as
                p
                as an individual defendant.
                H         as the person sued under the fictitious name of (specify):       follows'15.95
                          as occupant.
       d.       2         ()n behalf of (spec/fy). DIRECTTOU, LLC
                           under the following Code of Civil Procedure section:
                                           416. I 0 (corporation)                      0                   (business organization, form unknown)
                                           416.20 (defunct corporation)                     416.60 (minor)
                                       P 416.30 Joint stock company/association)   416.70 (ward or conservatee)
                                       P 416.40 (association or partnership)     Q 416.90 (authorized person)
                                           416.50 (public entity)                      CI 415.46 (occupant)
                                                                                             other:          LLC
7.    Person who served papers
      a. N am e:       KEVIN S. DUNN
      b. Address:      PO BOX 1360, WILMINO/TON, DE 19899
      c. Telephone number:      302-475-2600
      d. The fee for service was. 3
      e. am I



                                 not a registered California process server.
                                 exempt from registration under Business and Professions Code section 22350(b).
                                 a registered California process server.
                                 (i)          owner   Q employee Q          independent contractor.
                                 (i i) Registration Noz
                                 (/9) COUIlty:

 6     g            I   declare under penalty of perjury under the laws of the State of California that the foreqoinq is true and correct.

                    or
 9.    p            I   am a California sheriff or marshal and certify that the foregoing is true and correct.
                                                                    I




                         08/)5/2024

     KEVIN S. DUNN
            (NAME OF PERSON IAHO SERVED PAPERS/SHERIFF OR MARSHAL)                                                      (S/GNATURE)




                                                              PROOF OF SERVICE OF SUMMONS
Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 39 of 46




               EXHIBIT E
                     Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 40 of 46
                                                                                                    Reserved for Clerk’s File Stamp
               SUPERIOR COURT OF CALIFORNIA
                   COUNTY OF ALAMEDA
  COURTHOUSE ADDRESS:
 Rene C. Davidson Courthouse
 Administration Building, 1221 Oak Street, Oakland, CA 94612
  PLAINTIFF:
 Jonathan Hoang To
  DEFENDANT:
 DirectToU, LLC, a Delaware Limited Liability Company
                                                                                             CASE NUMBER:
               NOTICE OF CASE MANAGEMENT CONFERENCE                                          24CV086809

TO THE PLAINTIFF(S)/ATTORNY(S) FOR PLAINTIFF(S) OF RECORD:

You are ordered to serve all named defendants and file proofs of service on those defendants with the court within 60 days of
the filing of the complaint (Cal. Rules of Court, 3.110(b)).

Give notice of this conference to all other parties and file proof of service.

Your Case Management Conference has been scheduled on:


                                  Date:   12/10/2024        Time: 8:30 AM        Dept.: 21

                                  Location: Rene C. Davidson Courthouse
                                            Administration Building, 1221 Oak Street, Oakland, CA 94612

TO DEFENDANT(S)/ATTORNEY(S) FOR DEFENDANT(S) OF RECORD:

The setting of the Case Management Conference does not exempt the defendant from filing a responsive pleading as
required by law, you must respond as stated on the summons.

TO ALL PARTIES who have appeared before the date of the conference must:

Pursuant to California Rules of Court, 3.725, a completed Case Management Statement (Judicial Council form CM-110)
must be filed and served at least 15 calendar days before the Case Management Conference. The Case Management
Statement may be filed jointly by all parties/attorneys of record or individually by each party/attorney of record.
Meet and confer, in person or by telephone as required by Cal. Rules of Court, rule 3.724.
Post jury fees as required by Code of Civil Procedure section 631.

If you do not follow the orders above, the court may issue an order to show cause why you should not be sanctioned
under Cal. Rules of Court, rule 2.30. Sanctions may include monetary sanctions, striking pleadings or dismissal of the
action.

The judge may place a Tentative Case Management Order in your case's on-line register of actions before the
conference. This order may establish a discovery schedule, set a trial date or refer the case to Alternate Dispute
Resolution, such as mediation or arbitration. Check the court's eCourt Public Portal for each assigned department's
procedures regarding tentative case management orders at https://eportal.alameda.courts.ca.gov.




Form Approved for Mandatory Use
Superior Court of California,               NOTICE OF
County of Alameda
                                  CASE MANAGEMENT CONFERENCE
ALA CIV-100 [Rev. 10/2021]
              Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 41 of 46
                                                                                  Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
                COUNTY OF ALAMEDA
COURTHOUSE ADDRESS:
Rene C. Davidson Courthouse
1225 Fallon Street, Oakland, CA 94612
PLAINTIFF/PETITIONER:
Jonathan Hoang To
DEFENDANT/RESPONDENT:
DirectToU, LLC, a Delaware Limited Liability Company
                                                                            CASE NUMBER:
                        CERTIFICATE OF MAILING                              24CV086809

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the attached document upon each party or counsel
named below by placing the document for collection and mailing so as to cause it to be deposited in the
United States mail at the courthouse in Oakland, California, one copy of the original filed/entered herein in
a separate sealed envelope to each address as shown below with the postage thereon fully prepaid, in
accordance with standard court practices.




    Julian Hammond
    HAMMONDLAW PC
    1201 Pacific Ave Suite 600
    Tacoma, WA 98402




                                                     Chad Finke, Executive Officer / Clerk of the Court
Dated: 08/12/2024                                     By:




                                      CERTIFICATE OF MAILING
Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 42 of 46




               EXHIBIT F
        Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 43 of 46

                            SUPERIOR COURT OF CALIFORNIA
                                 COUNTY OF ALAMEDA

     24CV086809: TO vs DIRECTTOU, LLC, A DELAWARE LIMITED LIABILITY
                                   COMPANY
             09/11/2024 Complex Determination Hearing in Department 21

Tentative Ruling - 08/27/2024 Noël Wise


COMPLEX DETERMINATION

The Court designates this case as complex pursuant to Rule 3.400 et seq. of the California Rules
of Court. Counsel are advised to be familiar with the Alameda County Local Rules concerning
complex litigation, including Rule 3.250 et seq. An order assigning the case to a judge and an
initial case management order will be issued.

COMPLEX CASE FEES

Pursuant to Government Code section 70616, any non-exempt party who has appeared in the
action but has not paid the complex case fee is required to pay the fee within ten days of the
filing of this order. The complex case fee is $1,000 for each plaintiff or group of plaintiffs
appearing together and $1,000 PER PARTY for each defendant, intervenor, respondent or other
adverse party, whether filing separately or jointly, up to a maximum of $18,000 for all adverse
parties. All payments must identify on whose behalf the fee is submitted. Please submit payment
to the attention of the Complex Litigation Clerk located in the Civil Division at the Rene C.
Davidson Courthouse, 1225 Fallon Street, Oakland, CA 94612. Please make check(s) payable to
the Clerk of the Superior Court. Documents may continue to be filed as allowed under Local
Rule 1.9. Note that for those admitted pro hac vice, there is also an annual fee. (Gov't Code
section 70617.)

PROCEDURES

Calendar information, filings, and tentative rulings are available to the public at
https://eportal.alameda.courts.ca.gov/. All counsel are expected to be familiar and to comply with
pertinent provisions of the Code of Civil Procedure, the California Rules of Court, the Alameda
County Superior Court Local Rules and the procedures outlined on the domain web page of the
assigned department.

SERVICE OF THIS ORDER

Counsel for plaintiff(s) shall have a continuing obligation to serve a copy of this order on newly
joined parties defendant not listed on the proof of service of this order and file proof of service.
Each party defendant joining any third party cross-defendant shall have a continuing duty to
serve a copy of this order on newly joined cross-defendants and to file proof of service.

Pursuant to Government Code Sections 70616(a) and 70616(b), a single complex fee of one
thousand dollars ($1,000.00) must be paid on behalf of all plaintiffs. For defendants, a complex
fee of one thousand dollars ($1,000.00) must be paid for each defendant, intervenor, respondent
        Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 44 of 46

                           SUPERIOR COURT OF CALIFORNIA
                                COUNTY OF ALAMEDA

     24CV086809: TO vs DIRECTTOU, LLC, A DELAWARE LIMITED LIABILITY
                                            COMPANY
                09/11/2024 Complex Determination Hearing in Department 21
or adverse party, not to exceed, for each separate case number, a total of eighteen thousand
dollars ($18,000.00), collected from all defendants, intervenors, respondents, or adverse parties.
All such fees are ordered to be paid to Alameda Superior Court, within 10 days of service of this
order.

The Case will be reassigned to a Complex Overflow Department.

The Court orders counsel to obtain a copy of this order from the eCourt portal.


PLEASE NOTE: This tentative ruling will become the ruling of the court if uncontested by
04:00pm the day before your hearing. If you wish to contest the tentative ruling, then both notify
opposing counsel directly and the court at the eCourt portal found on the court’s website:
www.alameda.courts.ca.gov.

If you have contested the tentative ruling or your tentative ruling reads, “parties to appear,”
please use the following link to access your hearing at the appropriate date and time:
https://alameda-courts-ca-gov.zoomgov.com/my/department21 . If no party has contested the
tentative ruling, then no appearance is necessary.
                                 Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 45 of 46



                            1                                        CERTIFICATE OF SERVICE
                            2
                                       I am employed in San Francisco County, California. I am over the age of eighteen years
                            3   and not a party to the within-entitled action. My business address is 600 Montgomery Street,
                                Suite 3100, San Francisco, CA 94111-2806. On September 12, 2024, I served a copy of the
                            4   within document(s):
                            5       NOTICE OF REMOVAL OF ACTION PURSUANT TO 28 U.S.C. §§ 1331, 1332(d),
                                    1367(A), 1441, AND 1446
                            6

                            7         By EMAIL by electronically transmitting a copy of the document listed above via email
                                       to the address(es) as set forth below, in accordance with the parties’ agreement to be
                            8
                                       served electronically pursuant to Code of Civil Procedure section 1010.6 and California
                            9          Rule of Court 2.251(a) or court order. No error messages were received after said
                                       transmissions.
                           10
                                      By FIRST-CLASS MAIL by placing the document(s) listed above in a sealed envelope
                           11          with postage thereon fully prepaid, the United States mail at San Francisco, California
                                       addressed as set forth below. I am readily familiar with the firm’s practice of collection
B AKER & H OSTE TLER LLP
   A TTORNEYS AT L AW




                           12          and processing correspondence for mailing. Under that practice it would be deposited
      L OS A NGELE S




                                       with the U.S. Postal Service on that same day with postage thereon fully prepaid in the
                           13          ordinary course of business. I am aware that on motion of the party served, service is
                                       presumed invalid if postal cancellation date or postage meter date is more than one day
                           14
                                       after date of deposit for mailing in affidavit.
                           15         By PERSONAL SERVICE: by causing to be served on all other parties to this action
                                       by requesting that a messenger from Express Network deliver true copies of the above-
                           16
                                       named documents, enclosed in sealed envelopes addressed as indicated above.
                           17         By OVERNIGHT MAIL: by overnight courier, I arranged for the above-referenced
                                       document(s) to be delivered to an authorized overnight courier service for delivery to the
                           18
                                       addressee(s) above, in an envelope or package designated by the overnight courier
                           19          service with delivery fees paid or provided for.

                           20           I declare that I am employed in the office of a member of the bar of this court at whose
                                direction the service was made.
                           21
                                         I declare under penalty of perjury under the laws of the State of California that the above
                           22   is true and correct. Executed on September 12, 2024, at San Francisco, California.
                           23

                           24

                           25                                                                 Michael Folger
                           26

                           27

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                                NOTICE OF REMOVAL
                                Case 3:24-cv-06447-WHO Document 1 Filed 09/12/24 Page 46 of 46



                            1                                   SERVICE LIST
                            2    JULIAN HAMMOND
                            3    ADRIAN BARNES
                                 POLINA BRANDLER
                            4    ARI CHERNIAK
                                 HAMMONDLAW, P.C.
                            5    1201 Pacific Ave, 6th Floor
                                 Tacoma, WA 98402
                            6
                                 (310) 601-6766 (Office)
                            7    (310) 295-2385 (Fax)
                                 Email: acherniak@hammondlawpc.com
                            8    pbrandler@hammondlawpc.com
                                 abarnes@hammondlawpc.com
                            9    jhammond@hammondlawpc.com
                           10

                           11    Attorneys for Plaintiff
B AKER & H OSTE TLER LLP
   A TTORNEYS AT L AW




                           12
      L OS A NGELE S




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                                NOTICE OF REMOVAL
